
Peck, J.
delivered the opinion of the court.-
This is not like the case of Eason and Clark. 2 Yerg. Rep. 522. There the bond was defective, in not stating against whom the suit was commenced. Here it is , shown against whom the suit is brought, and is certain, to a general intent. It is true, that in the case of Eason and Clark, the judge, delivering the opinion of the court, sup*221posed, that it is necessary to specify in the bond the kind of action brought. But we know the fact to be, that in almost every case, the bond, when taken, is attached to the writ, and can apply to no other suit, and the reasoning of the judge is inconclusive, because that many suits might he brought, as he supposes, against the same person, by the same plaintiff; yet the plea might be the same (as, for instance, nil debet) to the whole of them.
The point in the case of Eason and Clark, that the bond was defective in not showing against whom the suit was brought, there being no obligee, was properly adjudged, and so far we do not question the opinion.
That point does not arise in this case. We deem this bond good and effectual to maintain the scire facias, and therefore reverse the judgment.
Proceeding to give such judgment as' the circuit court -ought to have rendered, overrule the demurrer, and render judgment for the plaintiff in the sciere facias.
Judgment accordingly.
